          Case 1:12-cv-00250-GK Document 61 Filed 08/25/16 Page 1 of 2



                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA



NETHANIAL CHAIM BLUTH, et al.,:

                     Plaintiffs,

     v.                                                        Civil Action No. 12-250 (GK)

ISLAMIC REPUBLIC OF IRAN,
     et al.

                     Defendants.


                                                       Order

     On          February        13,      2012,        ten    members    of   the   Bluth      family

("Plaintiffs" or "the Bluths") filed a Complaint alleging that the

Islamic Republic of Iran, the Iranian Ministry of Information and

Security,            and   the    Iranian         Revolutionary Guard           Corps     ("Iranian

Defendants") are liable under the Foreign Sovereign Immunities Act

("FSIA"), 28 U.S.C.              §   1605A, for Plaintiffs' physical and emotional

injuries arising from a terrorist attack by Hamas directed at a

classroom full of students studying Torah on March 7,                                    2002. Am.

Compl.    '.II'.II   10-19     [Dkt.      No.     5].    According to the Complaint,              the

Iranian          Defendants            "provided         material       support     or   resources

including             cover,     sanctuary,             technical       assistance,      explosive

devices, and training" to the terrorists. Id.

     On February 24,                   2015,      the Clerk of the Court declared the

Iranian        Defendants            to   be      in    default     because     they     had   never


                                                        -1-
         Case 1:12-cv-00250-GK Document 61 Filed 08/25/16 Page 2 of 2



responded to the Complaint. In order to obtain a default judgment

under    FSIA,   plaintiffs must    establish their        claim or      right   to

relief by evidence that is satisfactory to the Court. See 28 U.S.C.

§   1608(e). As explained in the accompanying Memorandum Opinion,

Plaintiffs have met this standard and the Court will grant their

Motion for Default Judgment        [Dkt. No.       48]. Upon consideration of

the Motion, the entire record herein, and for the reasons set forth

in the accompanying Memorandum Opinion, it is hereby

      ORDERED,     that   Plaintiffs'     Motion    for   Default   Judgment     is

granted; and it is further

      ORDERED,     that Defendants shall pay Plaintiffs the following

amounts    of    compensatory   damages:      Nethaniel   Bluth,    $6   million;

Ephraim and Shoshana Bluth, $2.5 million each; and Tsipora, Arieh,

Yigal,    Isaac, Abraham,    and Joseph Bluth,       $1.25 million each; and

it is further

      ORDERED, that Defendants shall pay Plaintiffs a total of $25

million in punitive damages.




August 25, 2016



Copies to: attorneys on record via ECF




                                        -2-
